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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS


MARION DIAGNOSTIC CENTER, LLC;
MARION HEALTHCARE, LLC; and
ANDRON MEDICAL ASSOCIATES,
individually and on behalf of all others
similarly situated,

                          Plaintiffs,
              v.
                                                No. 18 Civ. 1059
BECTON, DICKINSON, AND
COMPANY; PREMIER, INC.; VIZIENT,                Hon. Nancy J. Rosenstengel
INC.; CARDINAL HEALTH, INC.;
OWENS & MINOR DISTRIBUTION                      NOTICE OF APPEAL
INC.; MCKESSON MEDICAL-
SURGICAL INC.; HENRY SCHEIN,
INC.; and UNNAMED
BECTON DISTRIBUTOR CO-
CONSPIRATORS,

                          Defendants.


       PLEASE TAKE NOTICE that Plaintiffs Marion Diagnostic Center, LLC, Marion

Healthcare, LLC, and Andron Medical Associates, individually and on behalf of all others

similarly situated, hereby appeal to the United States Court of Appeals for the Seventh Circuit

from the Judgment entered November 30, 2018, and from all prior orders and rulings merged

therein.
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Dated:       December 27, 2018
             Chicago, Illinois

                                              /s/ Steven F. Molo
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on December 27, 2018, I caused the foregoing Notice of Appeal to

be served on all parties of record by filing the same with the Court’s CM/ECF system.



                                                           /s/ Steven F. Molo
